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#                  Legal Entity                     Bank Name          Last 4 Digit of Acccount #              Account Type                Debtor/Non Debtor
 1        YRC Freight Canada Company             Bank of Nova Scotia              2910                 Disbursement / Payroll Account            Debtor
 2        YRC Freight Canada Company             Bank of Nova Scotia              4510                 Receivables / Operating Account           Debtor
 3        YRC Freight Canada Company             Bank of Nova Scotia              7914                Disbursement / Operating Account           Debtor
 4              Yellow Corporation               Bank of Nova Scotia              5117                Disbursement / Operating Account           Debtor
 5              Yellow Corporation               Bank of Nova Scotia              5214                Disbursement / Operating Account           Debtor
 6         New Penn Motor Express LLC            Bank of Nova Scotia              5311                 Disbursement / Payroll Account            Debtor
 7        YRC Freight Canada Company             Bank of Nova Scotia              8114                Disbursement / Operating Account           Debtor
 8        YRC Freight Canada Company             Bank of Nova Scotia              3512                Disbursement / Operating Account           Debtor
 9        YRC Freight Canada Company              JPMorgan Canada                 1101                 Receivables / Lockbox Account             Debtor
10        YRC Freight Canada Company              JPMorgan Canada                 1210                 Receivables / Lockbox Account             Debtor
11                    YRC Inc.                    JPMorgan Canada                 8704                 Receivables / Lockbox Account             Debtor
12                    YRC Inc.                    JPMorgan Canada                 8705                 Receivables / Lockbox Account             Debtor
13                    YRC Inc.                       TD Canada                    0714                 Disbursement / Claims Account             Debtor
14        YRC Freight Canada Company              WELLS FARGO                  Unknown                       Investment Account                  Debtor
15              Yellow Corporation                 BNYMELLON                      6663                Disbursement / Operating Account           Debtor
16              Yellow Corporation                 BNYMELLON                      6671                Receivables / Equipment Account            Debtor
17              Yellow Corporation                 BNYMELLON                      6698                Receivables / Equipment Account            Debtor
18              Yellow Corporation                 BNYMELLON                      8400               Disbursement / Government Account           Debtor
19              Yellow Corporation                 BNYMELLON                      8400               Disbursement / Government Account           Debtor
20              Yellow Corporation                 Bank of America                2291                 Receivables / Lockbox Account             Debtor
21              Yellow Corporation              JPMorgan Chase & Co               0830              Disbursement / Concentration Account         Debtor
22                    YRC Inc.                  JPMorgan Chase & Co               2227                 Receivables / Lockbox Account             Debtor
23             Yellow Logistics Inc.            JPMorgan Chase & Co               1713               Receivables / Concentration Account         Debtor
24              Yellow Corporation              JPMorgan Chase & Co               2835                Receivables / Equipment Account            Debtor
25              USF Reddaway Inc.               JPMorgan Chase & Co               9567                 Receivables / Lockbox Account             Debtor
26               USF Holland LLC                JPMorgan Chase & Co               9583                 Receivables / Lockbox Account             Debtor
27         New Penn Motor Express LLC           JPMorgan Chase & Co               3310                 Receivables / Lockbox Account             Debtor
28              Yellow Corporation              JPMorgan Chase & Co               4193              Disbursement / Concentration Account         Debtor
29              Yellow Corporation              JPMorgan Chase & Co               4201                Disbursement / Operating Account           Debtor
30              Yellow Corporation              JPMorgan Chase & Co               4219               Disbursement / Government Account           Debtor
31                    YRC Inc.                  JPMorgan Chase & Co               4250                Disbursement / Operating Account           Debtor
32               USF Holland LLC                JPMorgan Chase & Co               4268                Disbursement / Operating Account           Debtor
33              Yellow Corporation              JPMorgan Chase & Co               4599                Disbursement / Operating Account           Debtor
34               USF Holland LLC                JPMorgan Chase & Co               4623                Disbursement / Operating Account           Debtor
35                    YRC Inc.                  JPMorgan Chase & Co               5497                 Receivables / Operating Account           Debtor
36                    YRC Inc.                  JPMorgan Chase & Co               7613               Receivables / Concentration Account         Debtor
37               USF Holland LLC                JPMorgan Chase & Co            Unknown                          Trust Account                    Debtor
38              Yellow Corporation                      PNC                       2947              Disbursement / Concentration Account         Debtor
39             Yellow Logistics Inc.                    PNC                       7094                 Receivables / Lockbox Account             Debtor
40              Yellow Corporation                      PNC                       0640                       Investment Account                  Debtor
41              Yellow Corporation                   CITIZENS                     8417                 Disbursement / Payable Account            Debtor
42              Yellow Corporation                   CITIZENS                     8638                     Money Market Account                  Debtor
43              Yellow Corporation                   CITIZENS                     8689                 Disbursement / Payable Account            Debtor
44              Yellow Corporation                   CITIZENS                     8700                Disbursement / Collateral Account          Debtor
45              Yellow Corporation                   CITIZENS                     8719              Disbursement / Concentration Account         Debtor
46              Yellow Corporation                   CITIZENS                     8727                       Investment Account                  Debtor
47              Yellow Corporation                   CITIZENS                     9308                Disbursement / Collateral Account          Debtor
48              Yellow Corporation                      UMB                       1046                          Trust Account                    Debtor
49              Yellow Corporation                    US Bank                     5676                 Disbursement / Payroll Account            Debtor
50              Yellow Corporation                 WELLS FARGO                    9838                Disbursement / Collateral Account          Debtor
51                    YRC Inc.                     WELLS FARGO                    6130                Disbursement / Collateral Account          Debtor
52            OPK Insurance Co. Ltd.              Bank of Bermuda                 -501                Disbursement / Insurance Account        Non Debtor
53      YRC Transportation, S.A.de C.V.             BANCOMER                      9991              Disbursement / Concentration Account      Non Debtor
54      YRC Transportation, S.A.de C.V.             BANCOMER                      9645                Disbursement / Operating Account        Non Debtor
55   Transcontinental Lease,S. de R.L. de C.V       BANCOMER                      0138                Disbursement / Operating Account        Non Debtor
56   Transcontinental Lease,S. de R.L. de C.V       BANCOMER                      5883                 Receivables / Property Account         Non Debtor
57       Roadway Express, S.A. deC.V.               BANCOMER                      0708              Disbursement / Taxes & Fines Account      Non Debtor
58             Reimer Holding B.V.              JPMorgan Netherlands              6633                 Disbursement / Payable Account         Non Debtor
59             Reimer Holding B.V.              JPMorgan Netherlands              6641                 Disbursement / Payable Account         Non Debtor
